                     Case 2:19-cv-10875-NGE-SDD ECF No. 1 filed 03/25/19                                                                     PageID.1            Page 1 of 29
JS 44 (Rev. 0)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
Terrell Christopher Gardner                                                                                 Raven Transport Co., Inc., and Jeffrey S. Powers, Jointly or Severally

    (b) County of Residence of First Listed Plaintiff             Wayne                                       County of Residence of First Listed Defendant              State of Florida
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
Joseph Dedvukaj (P51335)                                                                                    Walter J. Fitzgibbons (P43520)
1277 West Square Lake Rd, Bloomfield Hills, MI 48302                                                        28411 Northwestern Hwy, Suite 640, Southfield, MI 48034
248.352.2110/Fax: 248.352.0880                                                                              248.223.0120 Fax: 603.334.9174

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
u 1    U.S. Government                u 3     Federal Question                                                                     PTF        DEF                                          PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         u 1        u 1      Incorporated or Principal Place       u 4     u 4
                                                                                                                                                         of Business In This State

u 2    U.S. Government                u 4     Diversity                                              Citizen of Another State          u 2    u    2   Incorporated and Principal Place    u 5     u 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           u 3    u    3   Foreign Nation                      u 6     u 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
u   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              u 625 Drug Related Seizure          u 422 Appeal 28 USC 158          u 375 False Claims Act
u   120 Marine                       u   310 Airplane                 u 365 Personal Injury -              of Property 21 USC 881        u 423 Withdrawal                 u 376 Qui Tam (31 USC
u   130 Miller Act                   u   315 Airplane Product               Product Liability        u 690 Other                               28 USC 157                       3729(a))
u   140 Negotiable Instrument                 Liability               u 367 Health Care/                                                                                  u 400 State Reapportionment
u   150 Recovery of Overpayment      u   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                u 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              u 820 Copyrights                 u 430 Banks and Banking
u   151 Medicare Act                 u   330 Federal Employers’             Product Liability                                            u 830 Patent                     u 450 Commerce
u   152 Recovery of Defaulted                 Liability               u 368 Asbestos Personal                                            u 835 Patent - Abbreviated       u 460 Deportation
        Student Loans                u   340 Marine                         Injury Product                                                     New Drug Application       u 470 Racketeer Influenced and
        (Excludes Veterans)          u   345 Marine Product                 Liability                                                    u 840 Trademark                        Corrupt Organizations
u   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                u 480 Consumer Credit
        of Veteran’s Benefits        u   350 Motor Vehicle            u 370 Other Fraud              u 710 Fair Labor Standards          u 861 HIA (1395ff)               u 485 Telephone Consumer
u   160 Stockholders’ Suits          u   355 Motor Vehicle            u 371 Truth in Lending                Act                          u 862 Black Lung (923)                 Protection Act
u   190 Other Contract                       Product Liability        u 380 Other Personal           u 720 Labor/Management              u 863 DIWC/DIWW (405(g))         u 490 Cable/Sat TV
u   195 Contract Product Liability   u   360 Other Personal                 Property Damage                 Relations                    u 864 SSID Title XVI             u 850 Securities/Commodities/
u   196 Franchise                            Injury                   u 385 Property Damage          u 740 Railway Labor Act             u 865 RSI (405(g))                     Exchange
                                     u   362 Personal Injury -              Product Liability        u 751 Family and Medical                                             u 890 Other Statutory Actions
                                             Medical Malpractice                                            Leave Act                                                     u 891 Agricultural Acts
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            u 790 Other Labor Litigation          FEDERAL TAX SUITS              u 893 Environmental Matters
u   210 Land Condemnation            u   440 Other Civil Rights         Habeas Corpus:               u 791 Employee Retirement           u 870 Taxes (U.S. Plaintiff      u 895 Freedom of Information
u   220 Foreclosure                  u   441 Voting                   u 463 Alien Detainee                 Income Security Act                  or Defendant)                   Act
u   230 Rent Lease & Ejectment       u   442 Employment               u 510 Motions to Vacate                                            u 871 IRS—Third Party            u 896 Arbitration
u   240 Torts to Land                u   443 Housing/                       Sentence                                                            26 USC 7609               u 899 Administrative Procedure
u   245 Tort Product Liability               Accommodations           u 530 General                                                                                             Act/Review or Appeal of
u   290 All Other Real Property      u   445 Amer. w/Disabilities -   u 535 Death Penalty                  IMMIGRATION                                                          Agency Decision
                                             Employment                 Other:                       u 462 Naturalization Application                                     u 950 Constitutionality of
                                     u   446 Amer. w/Disabilities -   u 540 Mandamus & Other         u 465 Other Immigration                                                    State Statutes
                                             Other                    u 550 Civil Rights                   Actions
                                     u   448 Education                u 555 Prison Condition
                                                                      u 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
u 1 Original             u 2 Removed from                 u 3         Remanded from             u 4 Reinstated or       u 5 Transferred from     u 6 Multidistrict                  u 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           Title 28, United States Code, Section 13332
VI. CAUSE OF ACTION Brief description of cause:
                                           Motor vehicle accident with claimed personal injuries
VII. REQUESTED IN     u CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         u Yes      u No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                      SIGNATURE OF ATTORNEY OF RECORD
           3/25/19                                                       /s/ Water J. Fitzgibbons
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE
                  Case 2:19-cv-10875-NGE-SDD ECF No. 1 filed 03/25/19
JS 44 Reverse (Rev. 0)                                                                                   PageID.2          Page 2 of 29
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

,,      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

,,,     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

,9      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

9       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.PLEASE
         NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due tochanges in
         statue.

9,      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

9,,     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

9,,, Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.


Date and Attorney Signature. Date and sign the civil cover sheet.
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             Case 2:19-cv-10875-NGE-SDD ECF No. 1 filed 03/25/19                                                                                   PageID.3        Page 3 of 29
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                                                                             ECF No. 1       filed 03/25/19              PageID.4           Page 4 of 29
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 Notary public, $tate of Michigan, Counly ot

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Case 2:19-cv-10875-NGE-SDD ECF No. 1 filed 03/25/19                                    PageID.5      Page 5 of 29




                                                 STATA OF MICI:IIGAN

                      IN THE CIRCTITT COI]ITT FOR TI.IE COUNTY OF WAYNN
'r I|RIT ULL CHI{I ST'OI] HIIR GARDN                 H   I(,

           Plnintiti;                                                l9'                       -NI

Vs,

RAVtiN IIIANSPORTC().INC., AND JIiFITR.BY S. POWEIIS,.iointly or Sev,cmlly,

           lJel'enclants.




JosiiPll DHDVIJKAJ                  (P5 I 335)

Attonrcy     1'or   illaintiff
I277 Wcst Square i.akc Itoad

Bloornfi eld l"lills, Michigan 48302

Phone#(248) 35?-21 I0

Iiax#(Z48) 352-0880

Enrai I : irll;rrvti I'tniiiraul,   **nr



Theru wflr$ fl previous civil action assigued to Judge Patricia Frcsnrd, Cnse#1fi-000208-Nf'-

                                                               COMPLATNT

           Now Llon:es thc Plaintifl, il'IiRItllLL CIIRISTIOPIIEII. GARDNIjR, b1' and through his

attor:reys'fhe Joseph Dedvukaj F'inn, I'.C)., by Joseph Dedvuka.i urd {hr his c:onrrplttint ngai,nst thc

delbndants, states:


      1. Plaintifi'is       a r:esident    of the (Jorrnty 6f $y'6:y1e, State of Miclrigarr.

      2.   Del'sndant, ItAVliN'IRANSt)OR'l'C(). INC (hercin called "Ravell") is ttpon infotuatiort

           and beliel', is a corporation doing business irr dre State oll lrlorida.

      3.   1)et'enrlunt,    Jliirfnl'iY     S. POWI}RS, is * r:esiclent o{'t}re State of Ohio'
Case 2:19-cv-10875-NGE-SDD ECF No. 1 filed 03/25/19                                 PageID.6       Page 6 of 29




   4.    The inuident occurred in Wnyne County. Michiga,n, and this claim is oilierwise within the

        juristliction oJ'this court and exceeds thc jurisclictir:nal limit ol'$25,000,

  5,     Defbnclant JBFF     IIRY   S. POWHRS was at the time of the incidenl           r uommersinl truck tlriver

         Iot Defcndffit Raven.

  6.     Defbnclant JI^')FFR]:iY     $. I'OWEIIS was acting within the course arncl scope of his
        empltlynrent at ltaven when hc ncgligerrtly caused the plairrtillls irrjuries,

  '1. I)efendant Itaven is tlirectly        and vicar:iuusly liable flor   plaintilf s injuries,

                                             qQ,,uNlLr,   -   NnGLrGmN(rrl


  8.    Illaintiff incorporates by r:elbrence paragraph I        -   7.

  9.    On January I0,2017, ot rrplrrclxinrntely 4;20 a.m.,               tthe   plaintilf wus trnvcling norflr   on

        Interstatr: 75.

  l0.DeJentJant.lLiFIilUiY S. POWIjIIS was the trperator ol'a 2014 Peter,hilt (bnventiorral

        'l'rnctor-ttailcr bearir:g llhrida ['late#li2l7lV and VIN#INIIVDI{9X?HDnrc7?.

  II'   At the time oll the collision, Del'endnnt JHIFRIIY S. POWLIR$, wAs ilortllbound on I-7S

        rvlren he sucldenly and rvithout ,,vnr,ning stnlck ltlairrtif.f=s vehicle            in tlre   rea:r, causing

        plainfiff serious and pennanent iniuries.

  12.   At the tirne of the accident ttrc weather      wa$ cloudy, srrow nnd night.

  13. Plaintillf is ltee ol'any.firr.rlt.

  I4. Plaintifl:   wa.s   withiu thc course and scope oflhis ormployn:ent with Raven.

  l5. On said date, thc Del'endants, JIJFFRIjY S. POWHRS and [t,aven, coulrriitte.<l acts and

        olnissiolls ol'negligence. which are based upon fl violation of the lrcderal Motor (lrurier

        Sa{iety llegulations and statutes     ot'thc State of Michignn, in thc tollowing flraniler:
Case 2:19-cv-10875-NGE-SDD ECF No. 1 filed 03/25/19                                         PageID.7       Page 7 of 29




   a, Dclbndzurt improperly ohangcd lanes in violation of $ 40-6-4S. belbre it s'trs salb to do so;

   b. Defendant lailed to rnirintain ctlntrol of'his vehiole at                  rll   times;


   c.    Defb,udant failed 1o keep             m   irssurecl ole+rr clistunce;

   d.    Del'endant lhilecl to rnaintain an ussurerl clear distancc 11'orlr                plaintilf s trilctor/trailcr;

   e,    Def'endnnts was goirtg too fast              lbr thc road condititrns to maintain control of tlre vehicle;

   fl    Delendant failecl to kcep a proper lookout ancl otherwise pay uttention t0 the rofld {illead;

  g.     f)efendant fcll asleep at the whesl;

  h.    JE$FRIJY $. POWHRS aurcl Raven ttriied to cormply with 49 C.F.R. Iioc,383-SI, Sec.

         383'31-37, 383,77 and 383.1 10-l l3 regarding ltcicl's cornnrsrcial clriver"s license;

  i.    JEFIiI{BY S. POWIIRS and Raven failed to cornply with 49 C.ti.R, ttec. 393.45, 393.47(e),

        and 3 93. 5 3 (b) regzu'ding veh icle non-cornpl iarrce;

  j.    JtiIrlfRHY S. POWh,RS ancl Raverr Ihiled lu comply with 49 C.ti.R. ser: 391 regnldirrg

        driver cer:tilication und quali lications:

  k.    JEtiPIItiY S, POWEI{S and Raven lailed to comply with 49 C.li.R. 382 requiring alcohol

        ancl clrug testing;

  l,    ItjFFIthY S, P()\U:ilt$              ancl Raven:thiled to con-rply       witlr 49 C.Ir.R.. Sec 392.14 regarding

        the reduction of          spererd   and use of extrerne t:arilion in hazardous conditions:

  rn. JtiF'Irl{ilY S. POWEITS and lLnven failed to colrrply with 49 C.II.R. sec, 392.3 r:egurrlir:g;

        the driver operation of vehicle while               ill or f'atiguccl;

  n.    JEIilrRtiY S. POWHRIS arxl Raven ihiled to corrrplainl with 49 C.Ir.R. sec, 391.41 reg.ucling

        d ri   ver's   msrd   ical exarnination and certil.rcation;

  o. .lEI'liREY S. POWI'jIIS                 and   lttven lailod tu cornply with 49 C,F.R.         sec, 380.503 requiring

        drivu mandated            err{ry Ievel trainiug;
Case 2:19-cv-10875-NGE-SDD ECF No. 1 filed 03/25/19                            PageID.8      Page 8 of 29



   p'     JHF'I:'RF'Y   s' ItowEItS   ancl ltavetr   lirilcd to cornply with 4g    C.1:I.R. srsc. 3g5 rcqurring

          driver tu comply with irours of service rules;

   q' JEIrI+REY S. POWIIRS arrcl Raverr l?rilect to cornply with 4g C,Ii.R. sec. 395.g(e) und (k)
         driver tailu:e to cumplete, f'ailure to pre$u'rve, n:aklng fnl.se
                                                                           report oL dutl,and reteution;
  r'     JEFITRHY S. POWIJRS ancl l(nven f-ailed to comply with 4g C.li.R.
                                                                           3g6.3(aXI) regarclilg
         the salb ancl proper opei'ating con.dition at all tinres:

  s'      iEITIIRHY S' P()WEITS and lt-averr failed tr: cornply witll 49
                                                                         C,F',R, 3g(,.7 (ir) regilrding

         the opcratiou ol'the conrntsrcial nrr:tor vehicle in such a conclitir.ln
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         accident; and

  t'     Del'enclants may hitve been uegligent in sonrc othcr marluer whioh ctiscovery
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  16. Deftrnd8nt R.aven is also liable uuder the Michigarr owrer"s
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  17.   Plaintil} incorporatcs by ref'ereuce paragraph I *, 16,

  18. Def,"c[datlt's asls and ornissions     ol'negligence were ir proiliiltflte cnuss of tlre plaintili-s

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        aflieoted and oontinules to af},'ect his ability to lear.l a norn:al life and serious pernranent

       tlisfigurernent.

 2l , Illaintifl's itrjuries, iuclut{e but are not limited to. heacl; neck; back; l6ss of cervical lordosis;

       Cl5-C6 and C6-C7 disc btrlges         with desiccation; right upper extremity racliculopathy;
       vestibular dysfuncrion; right sht'rulder pain with teltcbniris; lumbar nryof'ascitis;
                                                                                             Iurnbar
Case 2:19-cv-10875-NGE-SDD ECF No. 1 filed 03/25/19                                    PageID.9        Page 9 of 29




        radioulupathy; adjustrnent disorder rvith zurxietyt pain disorclen myofuscinl puirr syndr6nle,

        peunrluent residual impalrnrcnt; and irrjur.ies to other p*rts o{r               hi_s bocly,   as rvell ss other

        rel*ted and appreciahle diftieulties, injuries, or consequences that have                             occurr:ecl.

        developcd, oI sggraYaled tmy pre-exist:iug probleru which might have
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   ?2. PlnintitThas lost wage flI)d his ear:rir:g capacity in the past, preserrt
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  23'   Iilaintiff has itlso itrcurred economic              expen$e$ wlrich exoeetl rrg-firult insur*urce

        roimburserrtent aud dcl'endant is responsihle to
                                                         Ffl,v €ry clil{creptial in mcdical experses,

        replaceuretrt services and wzrges loss. Iiluir:rtilf is also secking past, pltsefit, trnd ltture

        economic losses consisting olisarne kintl of ecouou:ic clarnagcs.

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                                                        joseph Declvukrrj (I,5 I 33S)
                                                         Atrorney for Plaintitl
                                                          1277 West Sqrrar.e Lakc l{oacl
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Case 2:19-cv-10875-NGE-SDD ECF No. 1 filed 03/25/19                        PageID.10       Page 10 of 29

                                      STATE OF MICHIGAN
                              IN THE 3RD JUDICIAL CIRCUIT COURT

 TERRELL CHRISTOPHER GARDNER,

           Plaintiff,                                             Case No. 19-002966-NI
                                                                  Honorable Patricia P. Fresard
 v.
                                          U.S. District Court Case No.:
 RAVEN TRANSPORT CO. INC., AND JEFFREY S. _______________________
 POWERS, Jointly or Severally             The Hon. _________________

           Defendants.

JOSEPH DEDVUKAJ (P51335)                              WALTER J. FITZGIBBONS (P43520)
The Joseph Dedvukaj Firm, P.C.                        Law Offices of Christine Greig
Attorney for Plaintiff                                Attorney for Defendant
1277 West Square Lk Rd                                28411 Northwestern Hwy., Suite 640
Bloomfield Hills, MI 48302                            Southfield, MI 48034
(248) 352-2110                                        248-223-0120
jdlawfirm@aol.com                                     Fax: 603-334-9174
                                                      Walter.Fitzgibbons@libertymutual.com




NOTICE OF REMOVAL OF ACTION TO THE DISTRICT COURT OF THE UNITED
 STATES FOR THE EASTERN DISTRICT OF MICHIGAN, SOUTHERN DIVISION


        NOW COME THE ABOVE-NAMED DEFENDANTS, Raven Transport Co.

Inc., and Jeffrey S. Powers, by and through its attorneys, Law Offices of Christine Greig, by

Walter J. Fitzgibbons, and states as follows:


        1. Petitioner is the Defendant in the Civil Action commenced on March 1, 2019, in

            the Circuit Court for the County of Wayne, State of Micigan, Case Number 19-

            002966-NI, entitled Terrell Christopher Gardner v. Raven Transport Co. Inc., and Jeffrey

            S. Powers, Jointly or Severally.

        2. Upon information and belief, a service of Summons and Complaint was made on

            Defendants, Raven Transport Co. Inc., and Jeffrey S. Powers, on March 14,

            2019.

        3. That this action is one over which the District Court of the United States is given

            original jurisdiction under the provisions of Title 28, United States Code, Section

            13332, and is one which may be removed to this Court by the Petitioner,
Case 2:19-cv-10875-NGE-SDD ECF No. 1 filed 03/25/19                   PageID.11       Page 11 of 29


          Defendant, herein, pursuant to the provisions of Title 28, United States Code,

          Section 1441.

       4. That the above entitled cause of action involves a controversy that exists

          between citizens of different states. The Plaintiff is a resident and citizen of the

          State of Michigan, while Defendant, Raven Transport Co. Inc., is a corporation

          incorporated under the laws of the State of Florida.

       5. Furthermore, while the Plaintiff is a citizen and resident of the State of Michigan,

          Defendant, Jeffrey S. Powers, is a citizen and resident of the State of Ohio.

       6. As such diversity of citizenry exists between all of the named parties involved in

          the subject suit.

       7. That based upon a description by the plaintiff’s complaint and of the plaintiff’s

          alleged damages, Plaintiff will assert that the amount in controversy appears to

          meet the jurisdictional limits of this Honorable Court.

       WHEREFORE, Defendants, Raven Transport Co. Inc., and Jeffrey S. Powers, prays

that this action, now pending in the Circuit Court for the County of Wayne, State of

Michigan, Case No. 19-002966-NI, be removed from Wayne County Circuit Court to this

Honorable Court.


                                      Respectfully Submitted,

                                      LAW OFFICES OF CHRISTINE GREIG

                                      /s/ Walter J. Fitzgibbons_________
                                      BY: WALTER J. FITZGIBBONS (P43520)
                                      Attorney for Defendants Powers and Raven
                                      28411 Northwestern Hwy., Suite 640
                                      Southfield, MI 48034
                                      Walter.Fitzgibbons@libertymutual.com
                                      248-223-0120



DATED: March 25, 2019
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                                       PROOF OF SERVICE


STATE OF MICHIGAN            )
                             )ss
COUNTY OF OAKLAND)


      Tracee A. Rodriguez, being duly sworn on the 25th day of March, 2019 deposes and says
   that she served a copy of the attached Notice of Removal of Action, Civil Cover Sheet,
   Appearance, Notice of Entry of Appearance, Answer to Complaint, Reliance Upon Jury Demand,
   Affirmative and/or Special Defenses and Reservation Thereof, upon the above-named attorneys at
   their respective email addresses.



                                            /s/ Tracee Rodriguez__________
                                            TRACEE A. RODRIGUEZ
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                    DIRECTIONS FOR PETITION FOR REMOVALS

1.     Obtain a check for the Removal Fee ($150.00) made payable to the Court the action is
being removed to – Contact Court to confirm court fee.

2.     Prepare:
       Answer to Complaint
       Affirmative Defenses
       Jury Demand/Reliance Upon Jury Demand
       Interrogatories
       Notice of Removal of Action (Copies for all Courts, all involved atty’s and file)

3.     File with the Court the action is to be removed from –

       a.     Civil Cover Sheet (Attorney to Fill in)Available at -
                  http://www.miwd.uscourts.gov/Forms/forms.html
       b.     Notice of Removal of Action – attach copy of original Summons & Complaint
       c.     Appearance
       d.     Answer to Complaint
       e.     Affirmative Defenses
       f.     Jury Demand/Reliance Upon Jury Demand
       g.     Interrogatories
       h.     Proof of Service

NOTE – Obtain time stamped copies of the Notice of Removal

4.     File with the Court the action is being removed to –

       a.     Check for Fee
       b.     Time Stamped copy of the Notice of Removal
              Appearance
              Answer
              Affirmative Defenses
              Jury Demand/Reliance Upon Jury Demand
              Civil Cover Sheet
              Interrogatories
              Proof of Service



5.      After the filing with the Court the action was removed to has been completed, send
copies to all counsel, and a Proof of Service to the original Court.
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                                   STATE OF MICHIGAN
                           IN THE 3RD JUDICIAL CIRCUIT COURT

 TERRELL CHRISTOPHER GARDNER,

           Plaintiff,                                        Case No. 19-002966-NI
                                                             Honorable Patricia P. Fresard
 v.

 RAVEN TRANSPORT CO. INC., AND JEFFREY S.
 POWERS, Jointly or Severally

           Defendants.

JOSEPH DEDVUKAJ (P51335)                          WALTER J. FITZGIBBONS (P43520)
The Joseph Dedvukaj Firm, P.C.                    Law Offices of Christine Greig
Attorney for Plaintiff                            Attorney for Defendant
1277 West Square Lk Rd                            28411 Northwestern Hwy., Suite 640
Bloomfield Hills, MI 48302                        Southfield, MI 48034
(248) 352-2110                                    248-223-0120
jdlawfirm@aol.com                                 Fax: 603-334-9174
                                                  Walter.Fitzgibbons@libertymutual.com




        DEFENDANTS JEFFREY POWERS AND RAVEN TRANSPORT INC.’S
           APPEARANCE AND NOTICE OF ENTRY OF APPEARANCE

TO:    CLERK OF THE COURT

       Please enter our Appearance as Attorneys for Defendants Jeffrey Powers and Raven

Transport Inc. in the above-entitled cause.


TO:    ATTORNEYS OF RECORD:

       Please take notice that we have entered our Appearance as Attorneys for Defendants Jeffrey

Powers and Raven Transport Inc. in the above entitled cause of action.



                                       Respectfully Submitted,
Case 2:19-cv-10875-NGE-SDD ECF No. 1 filed 03/25/19     PageID.16       Page 16 of 29

                             LAW OFFICES OF CHRISTINE GREIG

                             /s/ Walter J. Fitzgibbons_________
                             BY: WALTER J. FITZGIBBONS (P43520)
                             Attorney for Defendants Powers and Raven
                             28411 Northwestern Hwy., Suite 640
                             Southfield, MI 48034
                             Walter.Fitzgibbons@libertymutual.com
                             248-223-0120



DATED: March 25, 2019
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                                    STATE OF MICHIGAN
                            IN THE 3RD JUDICIAL CIRCUIT COURT

TERRELL CHRISTOPHER GARDNER,

          Plaintiff,                                          Case No. 19-002966-NI
                                                              Honorable Patricia P. Fresard
v.

RAVEN TRANSPORT CO. INC., AND JEFFREY S.
POWERS, Jointly or Severally

          Defendants.

JOSEPH DEDVUKAJ (P51335)                              WALTER J. FITZGIBBONS (P43520)
The Joseph Dedvukaj Firm, P.C.                        Law Offices of Christine Greig
Attorney for Plaintiff                                Attorney for Defendants
1277 West Square Lk Rd                                28411 Northwestern Hwy., Suite 640
Bloomfield Hills, MI 48302                            Southfield, MI 48034
(248) 352-2110                                        248-223-0120
jdlawfirm@aol.com                                     Fax: 603-334-9174
                                                      Walter.Fitzgibbons@libertymutual.com




 DEFENDANTS JEFFREY POWERS AND RAVEN TRANSPORT INC.S ANSWER TO
                     PLAINTIFF’S COMPLAINT

        NOW COME THE DEFENDANTS, Jeffrey Powers and Raven Transport Inc., by and

through their attorneys, Law Offices of Christine Greig, by Attorney Walter J. Fitzgibbons, and in

answer to Plaintiff’s Complaint, state as follows:

     1. Neither admitted nor denied, for lack of information to plead more definitely.

     2. Admitted.

     3. Admitted.

     4. Denied, because the allegations are untrue.

     5. Neither admitted nor denied, for lack of information to plead more definitely.

     6. Denied in the form and fashion stated, because the allegations are untrue.

     7. Denied, because the allegations are untrue.

                                   COUNT I – NEGLIGENCE
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   8. All previous answers given by Defendants are hereby incorporated by reference in response

       to the incorporated paragraphs listed by Plaintiff.

   9. Neither admitted nor denied, for lack of information to plead more definitely.

   10. Neither admitted nor denied, for lack of information to plead more definitely.



   11. Denied in the form and fashion stated, because the same is untrue.

   12. Neither admitted nor denied, for lack of information to plead more definitely.

   13. Neither admitted nor denied, for lack of information to plead more definitely.

   14. Denied in the form and fashion stated, because the same is untrue.

   15. Denied, because the allegations are untrue, including subparts a – t.

   16. Denied, because the allegations are untrue.

                                            DAMAGES

   17. All previous answers given by Defendants are hereby incorporated by reference in response

       to the incorporated paragraphs listed by Plaintiff.

   18. Denied, because the allegations are untrue.

   19. Neither admitted nor denied, for lack of information to plead more definitely.

   20. Neither admitted nor denied, for lack of information to plead more definitely.

   21. Neither admitted nor denied, for lack of information to plead more definitely.

   22. Neither admitted nor denied, for lack of information to plead more definitely.

   23. Denied, because the allegations are untrue.

       WHEREFORE, Defendants prays for a judgment in their favor, of “no cause of action,”

dismissal of the complaint, together with awarding of costs, attorney fees, and all other expenses

incurred in the defense of this action so wrongfully brought.




                                       Respectfully Submitted,
Case 2:19-cv-10875-NGE-SDD ECF No. 1 filed 03/25/19     PageID.19       Page 19 of 29

                             LAW OFFICES OF CHRISTINE GREIG

                             /s/ Walter J. Fitzgibbons_________
                             BY: WALTER J. FITZGIBBONS (P43520)
                             Attorney for Defendants Powers and Raven
                             28411 Northwestern Hwy., Suite 640
                             Southfield, MI 48034
                             Walter.Fitzgibbons@libertymutual.com
                             248-223-0120



DATED: March 25, 2019
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                                   STATE OF MICHIGAN
                           IN THE 3RD JUDICIAL CIRCUIT COURT

 TERRELL CHRISTOPHER GARDNER,

           Plaintiff,                                  Case No. 19-002966-NI
                                                       Honorable Patricia P. Fresard
 v.

 RAVEN TRANSPORT CO. INC., AND
 JEFFREY S. POWERS, Jointly or Severally

           Defendants.

JOSEPH DEDVUKAJ (P51335)                            WALTER J. FITZGIBBONS (P43520)
The Joseph Dedvukaj Firm, P.C.                      Law Offices of Christine Greig
Attorney for Plaintiff                              Attorney for Defendant
1277 West Square Lk Rd                              28411 Northwestern Hwy., Suite 640
Bloomfield Hills, MI 48302                          Southfield, MI 48034
(248) 352-2110                                      248-223-0120
jdlawfirm@aol.com                                   Fax: 603-334-9174
                                                    Walter.Fitzgibbons@libertymutual.com




        DEFENDANTS JEFFREY POWERS AND RAVEN TRANSPORT INC.’S
                            JURY DEMAND

       Defendants Jeffrey Powers and Raven Transport Inc. demand trial by jury of all issues raised

in the complaint, answers, affirmative and special defenses, cross and counter-claims, third-party

actions, or other related claims, whether presently or subsequently joined thereto.


                                       Respectfully Submitted,

                                       LAW OFFICES OF CHRISTINE GREIG

                                       /s/ Walter J. Fitzgibbons_________
                                       BY: WALTER J. FITZGIBBONS (P43520)
                                       Attorney for Defendants Powers and Raven
                                       28411 Northwestern Hwy., Suite 640
                                       Southfield, MI 48034
                                       Walter.Fitzgibbons@libertymutual.com
                                       248-223-0120
Case 2:19-cv-10875-NGE-SDD ECF No. 1 filed 03/25/19   PageID.21   Page 21 of 29

DATED: March 25, 2019
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                                 STATE OF MICHIGAN
                         IN THE 3RD JUDICIAL CIRCUIT COURT

 TERRELL CHRISTOPHER GARDNER,

          Plaintiff,                                      Case No. 19-002966-NI
                                                          Honorable Patricia P. Fresard
 v.

 RAVEN TRANSPORT CO. INC., AND JEFFREY S.
 POWERS, Jointly or Severally

          Defendants.

JOSEPH DEDVUKAJ (P51335)                        WALTER J. FITZGIBBONS (P43520)
The Joseph Dedvukaj Firm, P.C.                  Law Offices of Christine Greig
Attorney for Plaintiff                          Attorney for Defendant
1277 West Square Lk Rd                          28411 Northwestern Hwy., Suite 640
Bloomfield Hills, MI 48302                      Southfield, MI 48034
(248) 352-2110                                  248-223-0120
jdlawfirm@aol.com                               Fax: 603-334-9174
                                                Walter.Fitzgibbons@libertymutual.com


                                   PROOF OF SERVICE
STATE OF MICHIGAN            )
                             )ss
COUNTY OF OAKLAND            )
       Tracee A. Rodriguez, being duly sworn on March 15, 2019, deposes and says that she served
a copy of the attached Appearance and Notice of Entry of Appearance, Answer to Complaint,
Affirmative Defenses, Jury Demand and Notice of Deposition upon the above-named attorneys via
Wayne County eFile.



                                      /s/ Tracee Rodriguez
                                      TRACEE A. RODRIGUEZ
Case 2:19-cv-10875-NGE-SDD ECF No. 1 filed 03/25/19                      PageID.23         Page 23 of 29




                                     STATE OF MICHIGAN
                             IN THE 3RD JUDICIAL CIRCUIT COURT

TERRELL CHRISTOPHER GARDNER,

           Plaintiff,                                          Case No. 19-002966-NI
                                                               Honorable Patricia P. Fresard
v.

RAVEN TRANSPORT CO. INC., AND JEFFREY S.
POWERS, Jointly or Severally

           Defendants.

JOSEPH DEDVUKAJ (P51335)                              WALTER J. FITZGIBBONS (P43520)
The Joseph Dedvukaj Firm, P.C.                        Law Offices of Christine Greig
Attorney for Plaintiff                                Attorney for Defendants
1277 West Square Lk Rd                                28411 Northwestern Hwy., Suite 640
Bloomfield Hills, MI 48302                            Southfield, MI 48034
(248) 352-2110                                        248-223-0120
jdlawfirm@aol.com                                     Fax: 603-334-9174
                                                      Walter.Fitzgibbons@libertymutual.com


        DEFENDANTS JEFFREY POWERS AND RAVEN TRANSPORT CO. INC’S
     AFFIRMATIVE AND/OR SPECIAL DEFENSES AND RESERVATION THEREOF

         NOW COME THE DEFENDANTS, Jeffrey Powers and Raven Transport Co. Inc., by and

through Law Offices of Christine Greig, by Attorney Walter J. Fitzgibbons, and by way of

Affirmative and/or Special Defenses and Reservation thereof, state as follows:

1. That Defendants were not negligent in any manner with respect to the automobile accident

     which is the subject matter of Plaintiff’s complaint.

2. That Plaintiff’s Complaint is barred by the specific provisions of M.C.L.A. Section 500.3101 et

     seq., including but not limited to M.C.L.A. Section 500.3135.

3. That Plaintiff’s Complaint fails to comply with the rules and requirements of pleadings set forth

     in the Michigan General Court Rules, cases and Statutes of the State of Michigan and further

     that Defendants will move to have all or a portion of same stricken prior to trial.
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4. Any damages allegedly sustained by Plaintiff were a proximate result of Plaintiff’s own

     negligence or comparative negligence.

5.   Any damages allegedly sustained by Plaintiff were a proximate result of the actions or negligence

     of persons or parties not under the control or jurisdiction of Defendants.

6. Any damages recovered by Plaintiff must be reduced in proportion to the fault attributable to

     him.

7. That Plaintiff has failed to mitigate his damages.

8. That any medical condition from which Plaintiff may suffer pre-existed the automobile accident

     and was in no way caused or aggravated by the automobile accident.

9. That Plaintiff’s claim for damages are barred pursuant to M.C.L.A. 600.2955a(1) and (2) because

     the Plaintiff was impaired due to the ingestion of alcohol or controlled substance, and the

     Plaintiff’s fault is equal or greater than the aggregate fault of the other person or persons that

     contributed to Plaintiff’s alleged injuries, whether or not parties to the action.

10. That some or all of Plaintiff’s claims are barred by the applicable Statute of Limitations.

11. Any damages or alleged injuries claimed by Plaintiff were not a proximate result of the accident

     at issue in this case.

12. That Plaintiff’s failure to wear a seat belt constitutes negligence in the amount of 5%.

13. At the time and place alleged, Defendant Jeffrey Powers was confronted with a sudden

     emergency situation not of his making and for which Defendants Powers or Raven Transport

     Inc. have no liability, in response to which Defendant Powers acted as a reasonable and prudent

     person would have done under like or similar circumstances.

14. Plaintiff has not suffered death; serious impairment of body function; or permanent, serious

     disfigurement as required by MCL 500.3135 to recover damages in this action.
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15. Plaintiff’s claims for economic loss are barred, in whole or in part, by the Michigan No-Fault

    Act, MCL 500.3135.

16. To the extent Plaintiff is found to have sustained work loss damages in excess of the limits

    provided for in MCL 500.3107(1)(b), Defendants are entitled to the deduction set forth in MCL

    500.3135(3)(c).

17. All of Plaintiff’s claims are barred by the doctrine of Res Judicata.

18. Plaintiff is barred from recovering damages because he is more than 50 percent at fault with

    regard to the accident in this case.

19. That summary disposition is appropriate under MCR 2.116(c)(2) and (3) for insufficient service

    of process of Plaintiff’s Complaint and/or other pleadings.

20. Plaintiff is barred from recovering noneconomic damages in this case because at the time of the

    accident in which the injury occurred, he was operating his own vehicle, which did not have in

    effect for that motor vehicle security required by MCL 500.3101 of the No-Fault Act.

21. The accident or injuries were caused in whole or in part by Plaintiff, other parties to this action,

    or other persons or entities. Defendants reserve the right to request Plaintiff’s award, if any, be

    reduced accordingly; and furthermore, Defendants assert the right to have its liability

    apportioned with respect to co-Defendants or other joint tortfeasors as appropriate.

22. Plaintiff has failed to state a cause of action against these Defendants, and Defendants therefore

    reserve the right to move for summary disposition pursuant to MCR 2.116.

23. Plaintiff is not the proper party to bring this claim, having been subrogated in whole or in part

    by another.

24. To the extent that the Plaintiff’s allegations can be read to seek recovery of punitive and/or

    exemplary damages, such allegations are utterly without foundation in fact or law, and in either

    event, fail to state a claim upon which relief can be granted.
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25. If it is found that Plaintiff or anyone on Plaintiff’s behalf has previously filed a lawsuit arising

    out of the same transaction or occurrence or has otherwise released this claim, this cause of

    action is barred against the Defendants by said release of liability.

26. Defendants state that this court is not the proper venue and/or jurisdiction for this matter and

    will move to remand same to the proper court/venue/jurisdiction.

27. Defendants rely upon any and all defenses to Plaintiff’s claims under the Owners Liability

    Statute and for respondeat superior and/or vicarious liability.

28. Defendants rely upon any and all of Plaintiff’s claims of negligence and/or violations of any

    Michigan Statutes and/or the Federal Motor Carrier Safety Regulations, including that said

    claims are untrue.

29. Defendants reserve the right to amend or supplement this pleading as additional defenses

    become known throughout discovery.

    WHEREFORE, Defendants, Jeffrey Powers and Raven Transport Co. Inc., now pray for

judgment of no cause for action, together with costs and attorney fees most unjustly incurred.




                                         Respectfully Submitted,

                                         LAW OFFICES OF CHRISTINE GREIG

                                         /s/ Walter J. Fitzgibbons_________
                                         BY: WALTER J. FITZGIBBONS (P43520)
                                         Attorney for Defendants Powers and Raven
                                         28411 Northwestern Hwy., Suite 640
                                         Southfield, MI 48034
                                         Walter.Fitzgibbons@libertymutual.com
                                         248-223-0120



DATED: March 25, 2019
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PROOF OF SERVICE

The undersigned certifies that the foregoing instrument was served
upon all parties to the above cause to each of the attorneys of record
herein on     March 25, 2019
The parties were served via:

   U.S. Mail                           Facsimile
   Hand Delivery                       UPS
   Federal Express                     Other
   E-File                              Email

Signed:     /s/ Tracee Rodriguez
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                                     STATE OF MICHIGAN
                             IN THE 3RD JUDICIAL CIRCUIT COURT

 TERRELL CHRISTOPHER
 GARDNER,
                                                    Case No. 19-002966-NI
           Plaintiff,                               Honorable Patricia P. Fresard

 v.

 RAVEN TRANSPORT CO. INC.,
 AND JEFFREY S. POWERS, Jointly
 or Severally

           Defendants.

JOSEPH DEDVUKAJ (P51335)                            WALTER J. FITZGIBBONS (P43520)
The Joseph Dedvukaj Firm, P.C.                      Law Offices of Christine Greig
Attorney for Plaintiff                              Attorney for Defendant
1277 West Square Lk Rd                              28411 Northwestern Hwy., Suite 640
Bloomfield Hills, MI 48302                          Southfield, MI 48034
(248) 352-2110                                      248-223-0120
jdlawfirm@aol.com                                   Fax: 603-334-9174
                                                    Walter.Fitzgibbons@libertymutual.com




                    NOTICE OF TAKING DEPOSITION DUCES TECUM

TO:     ALL COUNSEL OF RECORD:

        PLEASE TAKE NOTICE that the oral testimony by deposition of Plaintiff Terrell

Christopher Gardner will be taken on July 2, 2019 at 1:30 pm, before a qualified Notary Public and

in accordance with all Michigan Court Rules, at:

                                     The Joseph Dedvukaj Firm, P.C
                                        1277 West Square Lk Rd
                                       Bloomfield Hills, MI 48302
                                             (248) 352-2110

      **PLEASE CONTACT OUR OFFICE IMMEDIATELY IF DEPONENT REQUIRES
          INTERPRETER AND IF SO, WHAT LANGUAGE AND/OR DIALECT**

        Deponent is to bring all documents, photographs, statements, videotapes or other material

that she intends to offer at the time of trial.
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       Demand is hereby made that counsel for plaintiff produce deponent at the above indicated

time and place.

       You are at liberty to appear at such time and cross-examine said witness.



                                      Respectfully Submitted,

                                      LAW OFFICES OF CHRISTINE GREIG

                                      /s/ Walter J. Fitzgibbons_________
                                      BY: WALTER J. FITZGIBBONS (P43520)
                                      Attorney for Defendants Powers and Raven
                                      28411 Northwestern Hwy., Suite 640
                                      Southfield, MI 48034
                                      Walter.Fitzgibbons@libertymutual.com
                                      248-223-0120



DATED: March 25, 2019
